         Case 3:20-cr-00087-RDM Document 45 Filed 02/09/21 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :      3:20-CR-87
                                              :
                   v.                         :      (Judge Mehalchick)
                                              :      (Judge Mariani)
CORBIN KAUFFMAN                               :      (Electronically Filed)

                    MOTION FOR MODIFICATION OF
                  PRE-TRIAL RELEASE CONDITION (7)(s)

        AND NOW comes the Defendant, Corbin Kauffman, by his attorney,

Christopher Opiel, Esq., and files the following Motion for Modification of Pre-

Trial Release Condition (7)(s). In support thereof, it is averred as follows:

   1.      On April 1, 2019, the Defendant was arrested and charged with

transmission in interstate commerce of any threat to injure the person of another in

violation of 18 U.S.C. § 875(c).

   2.      On April 4, 2019, the Defendant appeared before the Court for a

Detention Hearing, and the Court released the Defendant subject to the Order

Setting Conditions of Release. (Doc. 10).

   3.      On April 4, 2019, the Order Setting Conditions of Release stated in

paragraph (7)(s): “Deft not to use internet. Not to use phone w/ internet. Not to get

phone with internet. Not use laptop in home.” (Doc. 10).




                                          1
          Case 3:20-cr-00087-RDM Document 45 Filed 02/09/21 Page 2 of 5




   4.        On October 25, 2019, an Order was entered striking the original

language in paragraph (7)(s) of the Order Setting Conditions of Release and

modifying the language to the following:

               Defendant may obtain and use a cell phone; however,
               Defendant is strictly forbidden from accessing, viewing,
               or using any social media applications or websites. U.S.
               Probation may view Defendants cell phone records at any
               time. Defendant is prohibited from utilizing any other
               devise with internet capabilities other than his personal
               cell phone.

(Doc. 28).

   5.        On March 27, 2020, an Information was filed charging the Defendant

with one (1) count of the transmission in interstate commerce of any threat to

injure the person of another in violation of 18 U.S.C. § 875(c). (Doc. 39).

   6.        Also, on March 27, 2020, an executed Plea Agreement for a plea to the

one (1) count Information was filed to the docket. (Doc. 41).

   7.        On April 24, 2020, an Order was entered allowing the Defendant to

change his address from Carbon County, Pennsylvania and reside with his parents

in Etters, York County, Pennsylvania while on pre-trial release. (Doc. 44).

   8.        Immediately following the April 24, 2020 Order, the Defendant’s pre-

trial supervision was transferred to Brandon Dubbs, USPO, in the Harrisburg

office.



                                           2
         Case 3:20-cr-00087-RDM Document 45 Filed 02/09/21 Page 3 of 5




   9.      Since moving to York County, Pennsylvania, the Defendant has started

his own business installing vehicle windshields, windows, and lights called

“Kauffman’s Auto Glass” and he has been working very hard at making his

business as successful as possible.

   10.     In addition, the Defendant is a recovering drug addict and he works

extremely hard at continuing his sobriety every day.

   11.     The pre-trial release condition that does not allow the Defendant to use

the social media and the internet creates a heavy burden on the Defendant’s

business and personal life.

   12.     Under the current conditions, the Defendant is personally unable to

advertise his business or communicate with potential customers over social media

and the internet.

   13.     Additionally, since the COVID-19 pandemic has started, many

Narcotics Anonymous meetings and other drug recovery meetings take place over

social media and the internet.

   14.     The Defendant is respectfully requesting that the modified pre-trial

release condition (7)(s) be stricken in its entirety.

   15.     In the alternative, the Defendant is respectfully requesting that the

following exception be added to the language of the modified pre-trial release

condition (7)(s):


                                            3
         Case 3:20-cr-00087-RDM Document 45 Filed 02/09/21 Page 4 of 5




             Defendant may use social media and the internet for the
             sole purpose of promoting his business and connecting
             with customers/potential customers, and to connect with
             and participate in on-line Narcotics Anonymous and/or
             drug treatment/recovery groups.

   16.     Undersigned Counsel contacted AUSA Sean A. Camoni regarding this

Motion and AUSA Camoni indicated that the government does not take any

position on this motion and that he would defer to the judgment of the United

States Probation Office.

   17.     Undersigned Counsel contacted Brandon Dubbs, USPO, and Mr. Dubbs

stated that his office does take a position on these matters unless specifically asked

by the Judge.

           WHEREFORE, the Defendant, Corbin Kauffman, respectfully requests

that this Honorable Court enter an order modifying the terms of paragraph (7)(s) of

the Order Setting Conditions of Release in accordance with this motion.

                                        Respectfully submitted,

Date: February 9, 2021                  /s/ Christopher Opiel
                                        Christopher Opiel, Esq.
                                        Attorney ID# PA318776
                                        Opiel Law
                                        88 North Franklin Street
                                        Wilkes-Barre, Pennsylvania 18701
                                        (570)762-9992 (Office)
                                        (570) 417-1436 (Cell)
                                        (570) 825-6675 (Fax)
                                        Email: cropiel@opiellaw.com

                                          4
        Case 3:20-cr-00087-RDM Document 45 Filed 02/09/21 Page 5 of 5




                         CERTIFICATE OF SERVICE


          I, Christopher Opiel, Esq., do hereby certify that this document, the

foregoing Motion for Modification of Pre-Trial Release Condition (7)(s), filed

electronically through the ECF system will be sent to the registered Participants as

identified on the Notice of Electronic Filing, including the following:

                   Sean A. Camoni, Esquire
                   Assistant United States Attorney



Date: February 9, 2021                 /s/ Christopher Opiel
                                       Christopher Opiel, Esq.




                                          5
